25 F.3d 1038NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Rabah Muhammad ALI, Plaintiff Appellant,v.A. CHNIEL, Jailer;  Ron Barker, Sheriff;  Garland Wallace,Chief Jailer, Defendants Appellees.
    No. 94-6282.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 7, 1994.Decided June 16, 1994.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Winston-Salem.  Norwood Carlton Tilley, Jr., District Judge.  (CA-93-519-6).
      Rabah Muhammad Ali, appellant pro se.
      Allan R. Gitter, Womble, Carlyle, Sandridge &amp; Rice, Winston-Salem, NC, for appellees.
      M.D.N.C.
      AFFIRMED.
      Before HAMILTON, WILLIAMS, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Ali v. Chniel, No. CA-93-519-6 (M.D.N.C. Feb. 28, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    